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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JAY CARACCI, on behalf of himself and               )
 all others similarly situated,                      )
                                                     )
                                                     )
                                                     )
                               Plaintiff,            ) Case No. 1:19-cv-02796
                                                     )
 v.                                                  )
                                                     )
 AMERICAN HONDA MOTOR                                )
 COMPANY, INC.,                                      )
                                                     )
                                                     )
                               Defendant.            )


                                   JOINT STATUS REPORT


        Plaintiff Jay Caracci (“Plaintiff”) and Defendant American Honda Motor Co., Inc.

(“Honda”), by and through their undersigned counsel, hereby submit their Joint Status Report

pursuant to the Third Amended General Order 20-0012:

        A.      Discovery Progress

        Plaintiff and Defendant have both tendered written discovery (interrogatories and

document production requests) and provided responses to same. The Parties are continuing to

confer as to the responses served and documents produced to date. Defendant has also completed

an inspection of Plaintiff’s vehicle and Plaintiff has taken the deposition of the individual who

inspected Plaintiff’s vehicle in his individual capacity. At this time, the parties believe they can

meet the modified discovery schedule summarized in Section E below.

        B.      Status of Briefing on Any Unresolved Motions

        None.


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       C.      Settlement Efforts

       The parties have not engaged in settlement discussions.

       D.      45-Day Agreed Proposed Schedule

       In the next 45 days, Plaintiff intends to serve additional deposition notices on Defendant

and Defendant intends to notice Plaintiff’s deposition. In light of the current global pandemic,

health and safety concerns, and travel restrictions imposed by the government and Honda, the

parties agree to confer as to the timing and location of any depositions that may be noticed. The

parties will continue to meet and confer as to Plaintiff’s and Honda’s discovery responses and

document production to determine any needed motions to compel.

       E.      Agreed Proposed Revised Discovery and Dispositive Motion Schedule

       The parties agree that the extended dates from the previously entered Amended General

Orders are anticipated to be sufficient:

       10-26-2020              Deadline for delivery of initial expert reports

       11-16-2020              Fact discovery deadline (including non-expert deposition deadline),

                               discovery cut-off, and final MIDP supplements

       12-7-2020               Deadline for Plaintiff’s class certification motion and Defendant’s

                               individual summary judgment motion

       12-21-2020              Deadline for delivery of rebuttal expert reports

       1-25-2021               Expert discovery deadline (including expert deposition deadline)

       F.      Court Action

        The parties understand there is already a June 24, 2020 status hearing on calendar and are

prepared to appear by the means ordered if the Court holds the status hearing.




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Dated: May 13, 2020                          Respectfully submitted,

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